         Case 4:17-cv-00624-BRW Document 40 Filed 01/29/19 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

EQUAL EMPLOYMENT OPPORTUNITY )
COMMISSION,                                         )
                                                    )
              Plaintiff,                            )
                                                    )      Civil Action No.
v.                                                  )      4:17cv624-BRW
                                                    )
R WINGS R WILD d/b/a                                )
BUFFALO WILD WINGS,                                 )
                                                    )
              Defendant.                            )




                                  MOTION TO LIFT STAY



       PLEASE TAKE NOTICE that Plaintiff Equal Employment Opportunity Commission

(EEOC) moves to lift the stay previously granted in this case (Docket No. 38).
         Case 4:17-cv-00624-BRW Document 40 Filed 01/29/19 Page 2 of 2




                                            Respectfully submitted,


                                            /s/Pamela B. Dixon
                                            PAMELA B. DIXON
                                            Senior Trial Attorney
                                            Arkansas Bar No. 95085

                                            EQUAL EMPLOYMENT OPPORTUNITY
                                            COMMISSION
                                            Little Rock Area Office
                                            820 Louisiana Street, Ste. 200
                                            Little Rock, AR 72201
                                            (501) 324-5065
                                            pamela.dixon@eeoc.gov



                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing document was
electronically filed with the Clerk of the Court using the CM/ECF system, which shall send
notification of such filing to the following:

Brent D. Hockaday
Jay M. Wallace
Alana K. Ackels
Bell Nunnally & Martin LLP
3232 McKinney Avenue, Ste. 1400
Dallas, TX 75204
214-740-1400

David D. Wilson
Friday Eldredge & Clark LLP
400 West Capitol, Ste. 2000
Little Rock, AR 72201
501-370-1564

January 29, 2019                                           s/Pamela B. Dixon
Date                                                       PAMELA B. DIXON




                                               2
